287 F.2d 561
    SIT JAY SING, Appellant,v.H. D. NICE, District Director of Immigration andNaturalization Service, and Paul Posz, RegionalCommissioner, Immigration andNaturalization Service,Southwest Region, Appellees.
    No. 16948.
    United States Court of Appeals Ninth Circuit.
    March 7, 1961.
    
      Fallon, Hargreaves &amp; Bixby, Robert S. Bixby, San Francisco, Cal., for appellant.
      Laurence E. Dayton, U.S. Atty., and Charles Elmore Collett, Asst. U.S. Atty., San Francisco, Cal., for appellee.
      Before POPE, HAMLEY and HAMLIN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Sit Jay Sing applied to the Immigration and Naturalization Service under section 249 of the Immigration and Nationality Act of June 27, 1952, 8 U.S.C.A. 1259, for adjustment of his status to that of a permanent resident alien.  The application was denied on the ground that the applicant had failed to establish eligibility under paragraph (b) of section 249.  The applicant then commenced this suit for a declaratory judgment as means of reviewing the administrative order.  A declaratory judgment was entered dismissing the action.  Sit Jay Sing v. Nice, D.C., 182 F.Supp. 292.  Sit Jay Sing appeals.
    
    
      2
      It is provided in section 249 that one seeking relief thereunder must establish eligibility therefor by showing the existence of certain facts.  One of the facts which must be shown, as specified in subparagraph (b) of the section, is that the applicant 'has had his residence in the United States continuously since such entry.'  It is this basis of eligibility which according to the administrative agency and the district court appellant failed to establish.
    
    
      3
      For the reasons stated in the opinion of the district court we agree.
    
    
      4
      Affirmed.
    
    